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2019 JUL 39°
IN THE UNITED 8122S DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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CJF7.26.19
PCM/BKM: USAO 2019RG0366

UNITED STATES OF AMERICA
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Vv.
CARL SOMERLOCK, * (Possession of Machine Gun, 18 U.S.C.
* § 922(0); Possession of Unregistered
Defendant. * Firearm, 26 U.S.C. § 5861(d);
* Possession of Firearm Unidentified by
* Serial Number, 26 U.S.C. § 5861 (i);
* Forfeiture, 18 U.S.C. § 924(d), 26
* U.S.C. § 5872, 28 U.S.C. § 2461(c))
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INDICTMENT
COUNT ONE

(Possession of Machine Gun)
The Grand Jury for the District of Maryland charges that:
On or about March 31, 2019, in the District of Maryland, the defendant,
CARL SOMERLOCK,
knowingly possessed a machine gun, that is: a Glock-type firearm, unknown manufacturer, 9mm
Luger caliber, containing a machine gun-conversion device, bearing no serial number; and two
M16-type, unknown manufacturer, .223 Remington caliber firearms bearing no serial number; in

violation of Title 18, United States Code, Section 922(0).

18 U.S.C. § 922(0)

 

 
 

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COUNT TWO
(Possession of Unregistered Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about March 31, 2019, in the District of Maryland, the defendant,
CARL SOMERLOCK,

unlawfully and knowingly posséssed a firearm as defined in 26 U.S.C. §§ 5845(a) and 5845(b),
that is, a Glock-type firearm, unknown manufacturer, 9mm Luger caliber, containing a machine
gun-conversion device, bearing no serial number; two M16-type, unknown manufacturer, .223
Remington caliber firearms bearing no serial number; and a cylindrical device, no manufacturer
marks or serial number, capable of diminishing the sound report of a portable firearm, not
registered to him in the National Firearms Registration and Transfer Record, in violation of
Title 26, United States Code, Sections 5841, 5845(a), 5845(b), 5861(d), and 5871, and Title 18,
United States Code, Section 921(a)(23) and 921(a)(24).
26 U.S.C. § 5841
26 U.S.C. § 5845(a)
26 U.S.C. § 5845(b)
26 U.S.C. § 5861(d)
26 U.S.C. § 5871

18 U.S.C. § 921(a)(23)
18 U.S.C. § 921(a)(24)
 

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COUNT THREE
(Possession of Firearm Unidentified by Serial Number)

The Grand Jury for the District of Maryland further charges that:
On or about March 31, 2019, in the District of Maryland, the defendant,
CARL SOMERLOCK,

knowingly received and possessed a firearm, to wit: a Glock-type firearm, unknown manufacturer,
9mm Luger caliber, containing a machine gun-conversion device, bearing no serial number; two
M16-type, unknown manufacturer, .223 Remington caliber firearms bearing no serial number; and
a cylindrical device, no manufacturer marks or serial number, capable of diminishing the sound
report of a portable firearm, not identified by a serial number, in violation of Title 26, United States
Code, Sections 5845(a), 5845(b), 5861(i), and Title 18, United States Code, Section 921(a}(23) and
921 (a)(24).
26 U.S.C. § 5845(a)
26 U.S.C. § 5845(b)
26 U.S.C. § 5861(i)
26 U.S.C. § 5871

18 U.S.C. § 921(a\(23)
bm18 U.S.C. § 921 (a)(24)

 
 

 

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FORFEITURE

The Grand Jury for the District of Maryland further charges that:

1. Pursuant to Fed. R. Crim. P. Rule 32.2, notice is hereby given to the defendant that
the United States will seek forfeiture as part of any sentence, in accordance with Title 18, United
States Code, Section 924(d), Title 28, United States Code, Section 2461(c), and Title 26 United
States Code, Section 5872, in the event of the defendant’s conviction under Counts Cne through
Four of this Indictment.

2. As a result of the offenses alleged in Counts One through Three of this Indictment,
the defendant,

CARL SOMERLOCK,
shall forfeit to the United States the firearms involved in the commission of the offense.
18 U.S.C. § 924(d)

26 U.S.C. § 5872
28 U.S.C. § 2461(c)

obert K. Hur
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED SOI (J

 

Foreperson ’ Date

 
